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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS, DEL RIO DIVISION

OSCAR ORONA IANF of N.O., a@ minor,
CRISTINA OLVAREZ IANF of K.O., a
minor, and ANGELICA RODRIGUEZ
IANF of L.G., a minor, JOSE FLORES,
Individually and as Representative of the
Estate of J.F., Jr., deceased; MANUEL

LOZANO, Individually LYLIANA
GARCIA, Individually; ALEJANDRO
GARCIA, Individually and as

Representative of the Estate of Irma Garcia,
deceased; and ELSA AVILA.

Plaintiffs
v.

CHRISTOPHER KINDELL, an
individual; VICTOR ESCALON, an
individual; JOEL BETANCOURT, an
individual; JUAN MALDONADO, an
individual; CRIMSON ELIZONDO, an
individual; RICARD BOGDANSKI, an
individual, LUKE WILLIAMS, an
individual; UVALDE CONSOLIDATED
INDEPENDENT SCHOOL DISTRICT
AND/ OR UCISD POLICE
DEPARTMENT; PEDRO “PETE”
ARREDONDO, an individual; ADRIAN
GONZALES, an individual; MANDY
GUTIERREZ, an individual, JESUS “JJ”
SUAREZ, an individual, TEXAS
DEPARTMENR OF PUBLIC SAFETY
OFFICERS DOES 1-84; and
MOTOROLA SOLUTIONS, INC.

Defendants

Case No.

COMPLAINT FOR DAMAGES AND
DEMAND FOR JURY TRIAL

42 U.S.C. § 1983 — 14" Amendment
42 U.S.C. § 1983 — 14" Amendment

(1)
(2)

(3) 42U.S.C. § 1983 — 4" Amendment

(4) 42U.S.C. § 1983 — Policy and
Practice

(5) 42 U.S.C. § 1983 — Policy and
Practice

(6) Products Liability — Failure to Warn

(7) Products Liability - Manufacturing
Defect

(8) Damages

(9) Punitive/Exemplary Damages
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PLAINTIFFS’ AMENDED ORIGINAL COMPLAINT

Plaintiffs, OSCAR ORONA IANF father and next friend of N.O., a minor,
CRISTINA OLVAREZ mother and next friend of K.O., a minor, ANGELICA RODRIGUEZ
mother and next friend of L.G., a minor, JOSE FLORES Individually as Wrongful Death
Beneficiary and as Representative of the Estate of J.F., Jr.. deceased minor, MANUEL
LOZANO, Individually Wrongful Death Beneficiary of IRMA GARCIA, ALEJANDRO
GARCIA, Individual Wrongful Death Beneficiary and representative of the estate of IRMA
GARCIA, LYLIANA GARCIA, Individual Wrongful Death Beneficiary of IRMA GARCIA

and ELSA AVILA, state the following claims for relief against the Defendants.

I. INTRODUCTION

1. This case arises from the single greatest failure of law enforcement to confront an
active shooter in American history.

2. Most Texas elementary school classrooms have the same poster by the door that
was in Robb Elementary School’s Classroom 111: “LOCKDOWN! LOCKS, LIGHTS, OUT OF
SIGHT.”

a Because Texas public schools do not have the funds necessary to harden entry
points and have a security officer on campus full-time, Texas schools rely on the supposed
protection of the lockdown drill when an active shooter attacks a school. Texas is not alone in this.
States all across America mandate lockdown drills as preparation for an active shooter incident on
campus, because children and parents need some way to believe our schools can be safe.

4, The truth is that against a shooter with an AR-15, a lockdown is barely any
protection at all. Relying on silence and stillness, children play a deadly round of hide-and-seek

with a killer. Their silence and stillness is proof of faith that what they have been taught will protect

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them — and faith that law enforcement officers will stop at nothing to end the bloody game before
the shooter finds and kills them.

5. Children, parents, and teachers must have that faith for our schools to function.
Without it, why would we trust our children to a school’s care, in these terrible days of shooting
after shooting?

6. At Robb Elementary School on May 24, 2022, law enforcement officers destroyed
that faith because of an AR-15.

7. In an active shooter incident, any and all officers must follow active shooter
protocols, and immediately neutralize the active shooter. Instead, fearful of the Shooter’s “battle
rifle.” the 376 officers who responded to Robb Elementary School turned a lockdown into a death
trap. For one hour, fourteen minutes and eight seconds, responding officers “contained” an active
shooter with thirty children and three teachers. The containment strategy meant officers could
avoid advancing. Instead of facing down a shooter with an AR-15, officers left children to face
him.

8. That containment strategy caused immeasurable suffering. It made hide-and-seek
easy for the Shooter. It enabled the Shooter to torture and terrify wounded and dying children and
to find and kill children who were trying to hide. It deprived wounded children and teachers of the
chance to survive.

9. These officers’ betrayal of their duty was absolute. “The officers have weapons, the
children had none. The officers had body armor, the children had none. The officers had training,
the subject had none.” TXDPS Director McCraw testified before the Texas Senate Special

Committee to Protect all Texans.
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10. “The law enforcement response to the attack at Robb Elementary was an abject
failure and antithetical to everything we’ve learned over the last two decades since the Columbine
massacre,” Director McCraw continued.

Va. Law enforcement officers’ actions were “indefensible,” and “utterly unacceptable,”
in the words of Senator Ted Cruz.

12. “What happened in Uvalde is not acceptable behavior in the eyes of the law
enforcement community of the state of Texas,” Jimmy Perdue, Chief of North Richland Hills
police and president of the Texas Police Chiefs Association, told the Texas Senate.

13. “Our profession failed [on that] date,” Stan Standridge, San Marcos Police Chief
testified.

14. The craven actions of the Uvalde County Independent School District Police
Department (UCISD-PD) have been widely publicized and are well-known, but the equally
culpable actions by Texas Department of Public Safety (TXDPS) officers have been shielded from
public scrutiny. It is time for the Texas Department of Public Safety to account to Uvalde’s families,
and to Texas’s schools, teachers, school children, and their parents. Ninety-one TXDPS officers
responded to Robb Elementary School on May 24, 2022, while the UCISD-PD had five on scene.
The TXDPS 2022 budget was $1.6 billion: the UCISD’s budget was three-tenths of one percent
(.03%) of that amount. The leadership and tactical skills and experience of defendant TXDPS
officers like Texas Ranger Christopher Kindell and even TXDPS Sergeant Juan Maldonado
far outstripped the experience and abilities of UCISD-PD Chief Arredondo, and everyone on

scene knew it.
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15. | TXDPS has fought the public disclosure of its own officers’ body camera footage,

radio channel recordings, dispatch logs. and officer interviews and investigations. This lawsuit

seeks to end that cover-up.

16. Plaintiffs are the families of seventeen children who died on May 24, 2022, and two
children who survived the shooting by hiding beside their dead classmates’ bodies.

17. Defendants are officers and law enforcement agencies who confined students and
teachers, including Plaintiffs’ decedent children and the two living Plaintiff children, in
Classrooms 111 and 112 at Robb Elementary School with the active shooter, giving the Shooter
the opportunity to torture and terrify wounded and dying children and to find and kill children who
were trying to hide. Defendants are the officers and law enforcement agencies who prevented the
Plaintiff families from rescuing their children. Defendants are the officers and law enforcement
agencies who prevented medical aid from reaching the wounded, including Plaintiffs’ decedent
children, in those classrooms.

18. This lawsuit seeks accountability and transparency for Defendants’ actions on May

II. JURISDICTION AND VENUE

19. This case is brought pursuant to 42 U.S.C. § 1983 and under state law.

20. —_ Jurisdiction is conferred on this Court based upon 28 U.S.C. §§ 1331 (federal
question) and 1343 (federal civil rights). The Court has supplemental jurisdiction over Plaintiffs’
state law claims under 28 U.S.C. § 1367, because the state law claims are intertwined with the
federal claims.

21. | Venue is proper in the Western District of Texas, Del Rio Division, under 28 U.S.C.

§ 1391(b)(1) and (2) because at least one Defendant resides within this district. Defendants
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regularly conduct business in this district, and the wrongdoing giving rise to Plaintiffs’ claims

occurred in Uvalde County, Texas, which is within this district and division. See 28 U.S.C. §

124(d)(5).

A.

27.

23.

Il. THE PARTIES

PLAINTIFFS
Plaintiff Oscar Orona, Individually and as Next Friend of Plaintiff, N.O., his son, a
minor who was ten years old and in the fourth grade at Robb Elementary School on May
24, 2022, are residents of the State of Texas.
Plaintiff Angelica Rodriguez, Individually and as Next Friend of Plaintiff L.G., her
daughter, a minor who was ten years old and in the fourth grade at Robb Elementary
School on May 24, 2022, are residents of the State of Texas.
Plaintiff Cristina Olivarez, Individually and as Next Friend of Plaintiff, K.O., her
daughter, a minor who was nine years old and in the fourth grade at Robb Elementary
School on May 24, 2022, are residents of the State of Texas.
Plaintiff Jose Flores, Individually as Wrongful Death Beneficiary and as representative
of the estate of J.F. Jr., his son, a deceased minor who was 10 years old and in the fourth
grade at Robb Elementary School on May 24, 2022. Jose Flores is, and J.F. Jr. was, a
resident of Texas.
Plaintiff Manuel Lozano, Individually as Wrongful Death Beneficiary of Irma Garcia,
his daughter, deceased. He resides in the state of Texas.
Plaintiff, Alejandro Garcia, is the son of Irma Garcia, deceased individually as Wrongful

Death Beneficiary and the representative of the estate of Irma Garcia. He resides in the

State of Texas.
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28. Plaintiff Lyliana Garcia, is the daughter of Irma Garcia Individually as Wrongful Death
Beneficiary of Irma Garcia. She is a resident of the State of Texas.
29. Plaintiff, Elsa Avila, was teaching at Robb Elementary on May 24, 2022 and is resident of

the State of Texas.

B. DEFENDANTS
i. Texas Department of Public Safety Defendants

30. At all times relevant to this suit, Defendant Juan Maldonado was a TXDPS
Sergeant and was acting as such at Robb Elementary School on May 24, 2022. Defendant Juan
Maldonado is an individual residing in the state of Texas. He is being sued in his individual
capacity. Juan Maldonado may be served at 121 W Mill St, Uvalde. TX 78801-5931, or wherever
he may be found. Defendant Juan Maldonado arrived on scene at approximately 11:34 a.m.

31. At all times relevant to this suit, Defendant Crimson Elizondo was a TXDPS
Trooper and was acting as such at Robb Elementary School on May 24, 2022. Defendant Crimson
Elizondo is an individual residing in the state of Texas. She is being sued in her individual capacity.
Crimson Elizondo may be served at 216 Minter St, Uvalde, TX 78801-4215, or wherever she
may be found. Defendant Crimson Elizondo arrived on scene at approximately 11:35 a.m.

32. At all times relevant to this suit, Defendant Richard Bogdanski was a TXDPS
Trooper and was acting as such at Robb Elementary School on May 24, 2022. Defendant Richard
Bogdanski is an individual residing in the state of Texas. He is being sued in his individual
capacity. Richard Bogdanski may be served at 129 Shady Terrace Ln, Rockport, TX 78382-7977,

or wherever he may be found. Defendant Richard Bogdanski arrived on scene at 11:49 a.m. or

earlier.

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33. Atall times relevant to this suit, Defendant Luke Williams was a TXDPS Special
Agent and was acting as such at Robb Elementary School on May 24, 2022. Defendant Luke
Williams is an individual residing in the state of Texas. He is being sued in his individual capacity.
Luke Williams may be served wherever he may be found. Defendant Luke Williams arrived on
scene at approximately 11:53 a.m.

34. At all times relevant to this suit, Defendant Christopher Kindell was a Texas
Ranger with the TXDPS and was acting as such at Robb Elementary School on May 24, 2022.
Defendant Christopher Kindell is an individual residing in the state of Texas. He is being sued
in his individual capacity. Christopher Kindell may be served at | El Norte Cir, Uvalde, TX
78801-4020, or wherever he may be found. Defendant Christopher Kindell arrived on scene at
approximately 11:59 a.m.

35. At all times relevant to this suit, Defendant Joel Betancourt was a TXDPS Captain
and was acting as such at Robb Elementary School on May 24, 2022. Defendant Joel Betancourt
is an individual residing in the state of Texas. He is being sued in his individual capacity. Joel
Betancourt may be served at 3143 Homer Dr, Laredo, TX 78041-1936, or wherever he may be
found. Defendant Joel Betancourt arrived on scene at approximately 12:30 p.m.

36. At all times relevant to this suit, Defendant Victor Escalon was the Regional
Director of the South Texas Region of the Texas Department of Public Safety and was acting as
such at Robb Elementary School on May 24, 2022. Defendant Victor Escalon is an individual
residing in the state of Texas. He is being sued in his individual capacity. Victor Escalon may be
served at 216 Ben Hogan Ave, McAllen, TX 78503-3113, or wherever he may be found.

Defendant Victor Escalon arrived on scene prior to 12:50 p.m.

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37. Defendants TXDPS Does 1 through 84 are officers of the Texas Department of
Public Safety who were present at Robb Elementary on May 24, 2022, and acted. or failed to act,
with deliberate indifference to the constitutional rights of the Plaintiffs and the rights of the
Plaintiffs under state law and are liable to Plaintiffs. At all relevant times Does 1 through 84 were
acting in the scope of their employment, under color of state law, and in their individual capacities.
Does 1 through 84 are sued in their individual capacities.

38. Defendants Juan Maldonado, Crimson Elizondo, Richard Bogdanski, Luke
Williams, Christopher Kindell, Joel Betancourt, Victor Escalon, and TXDPS Does 1 through
84 are hereafter referred to as the “TXDPS Defendants,” all of whom were acting within the

course and scope of their employment and under color of state law at all relevant times on May 24,

2022.

ii. Uvalde Consolidated Independent School District Defendants

39. Defendant Uvalde Consolidated Independent School District (“UCISD”) is a
public school district in Uvalde, Texas. Robb Elementary School is/was one of the schools within
the UCISD. UCISD was at all relevant times responsible for the care, safety, management and
security of Robb Elementary School students, teachers and campus. The Uvalde Consolidated
Independent School District Police Department, (“UCISD-PD”) is an agency of the UCISD. The
UCISD is and was charged by law with the administration and operation of the UCISD-PD,
including the training, policies and practices of the UCISD-PD, and is legally responsible for the
acts and omissions of the UCISD-PD. Pursuant to Chapter 37 of the Texas Education Code, the
UCISD board set forth a policy authorizing commissioned peace officers to enforce rules adopted

by the board and focused on the protection of school district students, staff, buildings, and grounds.
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At all relevant times, the UCISD-PD was directed to enforce appropriate rules for the orderly
conduct of the district in carrying out its purposes and objectives as a separate jurisdiction relating
to the conduct of its students and personnel. On May 24, 2022, the UCISD-PD employed five
officers. Defendant UCISD may be served with process through UCISD Superintendent Ashley
Chohlis and/or through UCISD Board of Trustees President Calvin Lambert at 1000 North Getty
Street, Uvalde, Texas 78801, or wherever they may be found.

40. At all times relevant to this suit, Defendant Mandy Gutierrez was the Principal
of Robb Elementary School and was acting as such on May 24, 2022. She is being sued in her
official and individual capacities. Mandy Gutierrez may be served at 320 W Benson Rd, Uvalde,
TX 78801-3904, or 431 Evans St, Uvalde, TX 78801-5845, or wherever she may be found.

41. At all times relevant to this suit, Defendant Pedro “Pete” Arredondo was the
Chief of the UCISD-PD and was acting as such at Robb Elementary School on May 24, 2022.
Defendant Pedro “Pete” Arredondo is an individual residing in the state of Texas. He is being
sued in his official and individual capacities. Pedro “Pete” Arredondo may be served at 101
Larkspur Dr, Uvalde, TX 78801-6303, or wherever he may be found. Defendant Pedro “Pete”
Arredondo entered the West building at 11:35 a.m.

42. At all times relevant to this suit, Defendant Adrian Gonzales was an Officer of
the UCISD-PD and was acting as such at Robb Elementary School on May 24, 2022. Defendant
Adrian Gonzales is an individual residing in the state of Texas. He is being sued in his individual
capacity. Adrian Gonzales may be served at 474 Spinnaker Loop, Kyle. TX 78640-2594, or 317
Studer Cir, Uvalde. TX 78801-4041, or wherever he may be found. Defendant Adrian Gonzales

entered the West building at 11:35 a.m.

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43.  Atall times relevant to this suit, Defendant Jesus “JJ” Suarez was an Officer of
the UCISD-PD and was acting as such at Robb Elementary School on May 24, 2022. Defendant
Jesus “JJ” Suarez is an individual residing in the state of Texas. He is being sued in his individual
capacity. Jesus “JJ” Suarez may be served at 617 E Leona St, Uvalde, TX 78801-4410. or
Southwest Texas Junior College, at 2401 Garner Field Road. Uvalde, Texas 78801, or wherever
he may be found. Defendant Jesus “JJ” Suarez entered the West building at approximately 11:41
a.m.

44. Defendants Pete Arredondo, Adrian Gonzales, and Jesus Suarez are hereafter
referred to as the “UCISD-PD Defendants,” all of whom were acting within scope of employment
and under color of state law at all relevant times on May 24, 2022.

iii. Motorola Solutions, Inc.

45. At all relevant times to this suit, based on information and belief, Defendant
Motorola Solutions, Inc. (“Motorola”) designed and/or sold the radio communication devices
used by some of the first responders while responding to the Robb Elementary School Shooting
on May 24, 2022. Motorola is a Delaware corporation with its principal office in Chicago, Illinois.
Motorola is a communications technology company that develops and implements mobile, radio,
and wireless communication systems, command center software, and security systems for
government and commercial customers worldwide. Motorola may be served with process by
serving its registered agent, C T Corporation System, at 208 SO Lasalle Street, Suite 814, Chicago,

Illinois 60604-1101.

IV. ALLEGATIONS APPLICABLE TO ALL COUNTS

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46. On May 24, 2022 at Robb Elementary School, 376 officers responded to the scene.
Those officers’ actions trapped children, rather than releasing them. Officers increased the risk
that children would be shot, rather than protecting them. Officers who would not help trapped
children stopped parents from reaching them. Officers blocked medics from reaching the wounded
until it was too late. This complaint begins to unveil what happened that day.

A. THE RISE OF SCHOOL SHOOTINGS IN AMERICA AND THE
VULNERABILITY OF OUR SCHOOLS

47. On April 20, 1999, two high school seniors massacred twelve students and a teacher
at Columbine High School in Littleton, Colorado. It was the worst school shooting America had
ever seen.

48. Since the Columbine shooting, the number of school-related gun incidents has
increased, and school shootings have become increasingly fatal. More than 370,000 students have
experienced gun violence at school since Columbine.

49. In the five years immediately before the Robb Elementary School shooting, the
incidence and fatality of school shootings rose even more exponentially.

50. In the 2017-2018 school year, a student’s chance of dying in a school shooting
reached its highest level in at least 25 years.

51. | The 2021-2022 school year had the highest number of school shootings since
record-keeping began in 2000.

52. Also since Columbine, America has seen more and more attacks on schools where
the attacker intends to carry out a mass killing.

53. On April 16, 2007, a student at Virginia Tech University shot and killed 32 students

and educators and wounded at least 17 more people.

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54. On December 14, 2012, a troubled young man used an AR-15-style rifle to murder
20 children and six educators at Sandy Hook Elementary School in Newtown, Connecticut.

55. On February 14, 2018, a gunman opened fire on students, teachers, and staff at
Marjory Stoneman Douglas High School in Parkland, Florida, killing 17 and injuring 17 more.

56. School shootings have created a massive school security industry, on which schools
are spending $3 billion per year. Schools are implementing single-point-of-entry access, imposing
visitor restrictions, automatically dead-bolting doors, installing bulletproof glass and panic buttons,
and increasing the number and presence of security personnel.

57. Texas had its own school shooting tragedy in May 2018. In what Governor Abbott
called “one of the most heinous attacks that we’ve ever seen in the history of Texas schools,” a
student at Santa Fe High School in Santa Fe, Texas shot and killed eight students and two teachers
and wounded 13 others. The attack ended when school security officers and a state trooper
confronted and exchanged fire with the shooter.

58. Texas’s response to the Santa Fe shooting included legislation directing school
districts to implement multi-hazard emergency operation plans, required additional training for
school resource officers and school district employees, and created school threat assessment teams.
As part of that response, Texas’s Commissioner of Education promulgated rules requiring regular
lockdown drills. Governor Abbott said the legislative package would do “more than Texas has
ever done to make schools safer places for our students, for our educators, for our parents and
families.”

59. But the massive investment it would take to actually harden Texas schools against
an attacker with a battle rifle was not made. Texas’s schools were not suddenly “safer places.”

This state’s nearly 9,000 school campuses were almost all built before defense against a gunman

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with an AR-15 was a design necessity, and the legislature was not willing to appropriate the
amount necessary to fund upgrades that could give students and teachers some protection from an
active shooter.

60. | Uvalde County Independent School District, with its 4.116 students at eight school
campuses, received $69,000 to harden its schools in the wake of the Santa Fe shooting. Part of this
money went to build a five-foot perimeter fence around Robb Elementary School. On May 24,
2022, the Shooter easily jumped over that fence.

61. In today’s Texas, just like in the rest of America, the question is not if another mass
shooting at a school will occur; the question is when.

62. For Texas’s schools, especially poorer schools like those in Uvalde County, it
would be a matter of minutes at best, and seconds at worst, before an active shooter gained entry
to the school. Students and teachers’ survival would depend on the speed and effectiveness of the

law enforcement response.

B. STATE-MANDATED LOCKDOWN PROTOCOLS DIRECT STUDENTS AND
TEACHERS TO STAY STILL AND SILENT UNTIL LAW ENFORCEMENT
OFFICERS RELEASE THEM
63. Texas Education Code § 37.114 provides that the Texas Commissioner of

Education, in consultation with the Texas School Safety Center and the state fire marshal, must

adopt rules for best practices for conducting emergency school drills and exercises, including

definitions for relevant terms.
64. ‘As part of the effort to make Texas schools safer after the Santa Fe High School

shooting, the Commissioner of Education Mike Morath issued Texas Administrative Code Rule §

103.1209, “Mandatory School Drills.”

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65. | The Commissioner’s new rules required school districts to conduct emergency
safety drills. One of these was the lockdown drill.

66. The rule defined a lockdown drill as “[a] response action schools take to secure
interior portions of school buildings and grounds during incidents that pose an immediate threat
of violence inside the school. The primary objective is to quickly ensure all school students, staff,
and visitors are secured away from immediate danger.” 19 Tex. Admin. Code § 103.1209(b)(3).

67. The Texas School Safety Center (TxSSC) is an official university-level research
center at Texas State University in San Marcos, Texas, which provides K-12 schools in Texas with
safety and security protocols and guidance, determining best practices for Texas schools.

68. TxSSC provides a Standard Response Protocol for a lockdown (“the Texas
Lockdown SRP”).

69. The Texas Lockdown SRP provides that “Lockdown is called when there is a threat
or hazard inside the school building. From parental custody disputes to intruders to an active
shooter, Lockdown uses classroom and school security actions to protect students and staff from
threat.”

70. The Texas Lockdown SRP continues, “The Lockdown Protocol demands locking
individual classroom doors, offices and other securable areas, moving room occupants out of line
of sight of corridor windows and having room occupants maintain silence.”

71. Per the Texas Lockdown SRP, teachers and students must keep the classroom door
closed until law enforcement officers open it: “Teacher, staff, and student training reinforces the
practice of not opening the classroom door, once in Lockdown. Rather, no indication of occupancy

should be revealed until first responders open the door.” That is, teachers and their students are

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trained — by official requirements — to remain in their classrooms during lockdowns with the door
closed until law enforcement officers authorize them to leave.

72. TxSSC materials, including the “Training and Drills” section of the “A Parent’s
Guide to School Safety Toolkit” provide that parents should assure their children that the better
they follow the lockdown drill instructions, the safer they will be in a real shooting.

73. Per the TxSSC Parent’s Guide, parents should teach their children to wait for law
enforcement, even if it is a “a real active threat emergency, such as an active shooter.”

74. Also, per the TxSSC Parent’s Guide, students are not to use their phones: “During
the lockdown drill, which is the drill used when a threat is located inside the school building, the
skill of staying quiet is important to practice. During this drill, and in a real-life event, student and
staff cellphones are to be silenced, and everyone is to stay quiet.”

7S. 19 Tex. Admin. Code § 103.1209 directs that schools conduct lockdown drills at
least twice per year.

76. As required by Texas law, Robb Elementary School, including the teachers and
students in Classrooms 111 and 112, trained on the Texas Lockdown SRP.

77. The teachers and students in Classrooms 111 and 112, and all of Robb Elementary
School’s faculty and students, were familiar with lockdowns. Because of the school’s proximity
to the border, teachers and students had experienced multiple lockdowns, in addition to the two
drills per year required by Texas law.

78. | Robb teachers and students relied on and followed the lockdown protocols
prescribed by the State of Texas. The lockdown summary protocol was posted just inside

classroom doors: “LOCKDOWN: LOCKS, LIGHTS, OUT OF SIGHT.” The posting directed

students to move out of sight, to maintain silence, and to not open the door. It instructed teachers

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to: lock interior doors; turn out the lights; move away from sight, not open the door; maintain
silence; and take attendance. Once locked down, students at Robb Elementary School — just like
students at any other Texas school — would wait for law enforcement officers to come.

c. IN AN ACTIVE SHOOTER INCIDENT, LAW ENFORCEMENT OFFICERS
MUST IMMEDIATELY ISOLATE AND NEUTRALIZE THE SHOOTER

79. The law enforcement community’s agreed definition of active shooter is “an
individual actively engaged in killing or attempting to kill people in a confined and populated area.”
(The White House, United States Department of Justice, Federal Bureau of Investigation, United
States Department of Education, United States Department of Homeland Security and Federal
Emergency Management Agency use this definition, as do other law enforcement agencies and
training providers across the country).

80. The definition of an active shooter — “an individual actively engaged in killing or
attempting to kill people in a confined and populated area” — dictates the law enforcement response.
It is law enforcement’s job to immediately isolate and neutralize someone who is actively engaged
in killing or attempting to kill people in a confined and populated area.

81. Analysis of the failed law enforcement response to the 1999 Columbine school
shooting led to a crystal-clear active shooter response doctrine.

82. At Columbine, officers on the scene set up a perimeter and waited 47 minutes
before entering the school. While they delayed, the two Columbine shooters casually killed and
wounded students — and wounded students bled where they lay. Some died because of the law
enforcement delay. Until Uvalde, Columbine was the model for what not to do.

83. The lesson from Columbine was simple. Law enforcement delay in neutralizing an
active shooter in a school would be measured in students’ lives lost. A new active shooter doctrine

was adopted by law enforcement agencies across the country. First responders must react

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immediately to confront the shooter to prevent further killing and to urgently render first aid to
victims. In short, in an active shooter event, officers must confront the subject and stop his actions
immediately. TXDPS Director McCraw acknowledged the standard: “the doctrine since
[Columbine] has been that in an active shooter situation, it’s to immediately locate the subject.
isolate him and neutralize him.”

84. Advanced Law Enforcement Rapid Response Training (ALERRT) is nationally
recognized as the preeminent active shooter/attack response training provider in the nation.
ALERRT is based at Texas State University in San Marcos, Texas. More than 200,000 state, local,
and tribal first responders (over 140,000 of them law enforcement) from all 50 states, the District
of Columbia, and U.S. territories have received ALERRT training over the last 20 years.

85. Each and every law enforcement department in the state of Texas, especially and
including all departments present at Robb Elementary School on May 24, 2022, subscribed to,
were trained on, and were bound to follow ALERRT protocols and training. TXDPS’s training
program includes a Reality Based Training Unit, which instructs the ALERRT Level 1 course to
department members.

86. ALERRT teaches that first responders’ main priority in an active shooter incident
is to first “Stop the Killing,” then “Stop the Dying,” and then “Evacuate the Injured.”

87. Officers responding to an active school shooting are to draw the shooter’s attention
away from potential victims, draw the shooter away from new or wounded victims, and take
immediate action to neutralize the shooter, including use of necessary and deadly force.

88. ALERRT doctrine requires law enforcement to act immediately. Waiting for

equipment, more highly trained officers, and all other forms of delay are unacceptable.

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89. Even waiting for a four-or five-person team of first-on-site officers to gather is not
acceptable. Recent tactical training emphasizes solo officer response when the situation demands.
The doctrine provides that, “[i]n many cases that immediate response means a single (solo) officer
response until such times as other forces can arrive. The best hope that innocent victims have is
that officers immediately move into action to isolate, distract or neutralize the threat, even if that
means one officer acting alone.”

90. From the moment a shot is fired at a school, it is an active shooter incident. “When
a subject fires a weapon at a school he remains an active shooter until he is neutralized and is not
to be treated as a ‘barricaded subject,’” said TXDPS Director McCraw.

91. Director McCraw’s statement is elementary: someone who fires a weapon at a
school cannot be a barricaded subject. The International Association of Chiefs of Police defines a
barricaded subject as “an individual who is the focus of a law enforcement intervention effort, who
has taken a position in a physical location that does not allow immediate law enforcement access.
and is refusing law enforcement orders to exit” and “who is not suspected of committing a crime.”

92. ALERRT doctrine addresses the fact that taking immediate action to isolate and
neutralize an armed attacker may be very dangerous for law enforcement officers. The doctrine
clearly determines priority of life. The first priority is to preserve the lives of victims and potential
victims. The second priority is the safety of officers, and the last priority is the suspect. Under
ALERRYT protocols, officers must act immediately, regardless of the risk to themselves.

D. LAW ENFORCEMENT OFFICERS WHO CONFINE AN ACTIVE SHOOTER

WITH LOCKED DOWN CHILDREN AND TEACHERS CREATE A DEATH

TRAP

93. “If you don't immediately confront an active shooter, lives are going to be lost,”

TXDPS Director McCraw stated.

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94. Lockdown protocols work in tandem with ALERRT immediate response protocols.
Teachers and students are trained and required to freeze, hide, and stop any other efforts to protect
themselves precisely because law enforcement officers will respond immediately to keep students
safe and stop the threat. Teachers and students do this because they are following rules laid down
by Texas’s Commissioner of Education.

95. Lockdown deprives teachers and students of assistance from anyone but law
enforcement. Parents and family members cannot contact them, find them, or reach them.
Emergency medical responders cannot get through the law enforcement perimeter to treat the
wounded. Once law enforcement officers arrive and set up a perimeter, they have undertaken to
be the lone vector of rescue for teachers and students.

96. Responding law enforcement officers have the sole power to determine how long
locked down students and teachers will be confined with the shooter.

97. According to ALERRT doctrine, the time of confinement in lock down with the
active shooter should be as close to zero as possible, because the overwhelming priority is to “stop
the killing and stop the dying.”

98. By prolonging a lockdown in an active shooter incident, law enforcement officers
trap and confine students and teachers with the active shooter.

99. By prolonging a lockdown in an active shooter incident, law enforcement officers
require that trapped teachers and students remain in place, and thus increase the likelihood that a
shooter will find and shoot a child or a teacher and that wounded victims will die.

100. By prolonging a lockdown, law enforcement officers increase the terror and trauma

students and teachers endure.
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101. Law enforcement officers know all of this. This is exactly why ALERRT training
mandates an immediate neutralization of the shooter.
E. ROBB ELEMENTARY SCHOOL

102. Uvalde is a close-knit community. About 25,000 people live in Uvalde County,
including the roughly 15,000 who live in the City of Uvalde.

103. In the 2021-22 school year, Uvalde County Independent School District had 4,102
students. Robb Elementary School held the classrooms for about 600 second, third and fourth
grade students.

104. The ties between Uvalde’s law enforcement community and its schools were
particularly close. Law enforcement officers’ children attended Robb Elementary, and their

wives taught there. Robb Elementary’s West building was full of fourth grade classrooms.

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Diagram of Robb Elementary School West Building

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F. GOING TO SCHOOL ON THE MORNING OF TUESDAY, MAY 24, 2022
105. May 24, 2022, was a Tuesday, and school started at 7:30 am.
106. J.F. was an honor roll student who helped his dad with his work around the ranch.
J.F. loved baseball. He wanted to be a policeman when he grew up. He had a big family: his
mom Alyssa, dad Jose Sr., three brothers, and two sisters. He loved his family.

107. Irma Garcia was a loving mother and wife. She was a dedicated teacher who had spent
her life caring and loving her students. She was well loved by her family and her
community. She lost her life shielding her students on May 24, 2022. Tragically, her
high school sweetheart and husband of 27 years Jose Antonio Garcia died of a broken
heart on May 26, 2022 leaving their four children as orphans.

108. Minors K.O., N.O. and L.G. are some the students that were shot and injured on
May 24, 2022. These students were forced to stay wounded without medical attention with
their wounded and dying friends for over an hour in the classroom with the shooter.

109. Elsa Avila was a teacher in another classroom down the hall from Rooms 11 and
112. She was huddled against the wall with her students when a bullet came through the
wall striking her. She was severely injured. She denied medical attention for over an hour
while law enforcement failed to engage the shooter.

110. With the end of the school year approaching, the morning of May 24, 2022 at Robb
Elementary School was for awards. Robb students gathered grade by grade for assemblies to
celebrate the year’s hard work. Fourth graders went for their assembly at about 10:30 a.m.

111. Proud parents in the audience watched as their children received honor roll
certificates. After the ceremony, students posed for photos.

112. The fourth-grade teachers led their students back to the classrooms lining the

hallways of the West building.

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113. Teacher Arnulfo Reyes walked with his eleven students back to Classroom 111.

Teachers Eve Mireles and Irma Garcia took their nineteen students back to Classroom 112.

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Diagram of the Classrooms and Hallway Adjacent to Classrooms 111 and 112
114. Like most other classrooms in the building, Classrooms 111 and 112 shared a
double-width interior door.
115. In Classroom 111, the students went back to watching The Addams Family while
Mr. Reyes did some work at his desk. They had started watching the movie earlier that morning
before the assembly.
116. InClassroom 112, teachers Eva Mireles and Irma Garcia and their nineteen students

were watching Lilo and Stitch.

G. THE ACTIVE SHOOTER APPROACHES ROBB ELEMENTARY SCHOOL
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117. At 11:28 a.m., a young man (hereafter “the Shooter”) crashed his truck in a ditch
approximately 100 yards from Robb Elementary School. His plan was to “shoot up” Robb
Elementary School. (11:28 a.m.).

118. The Shooter got out of the truck and started firing, (11:29 a.m.).

119. Uvalde’s 911 dispatcher started to receive calls reporting shots fired. (11:29 a.m.).

120. The Shooter climbed over the school’s perimeter fence on the west side of the
campus. (11:29 a.m.).

121. Uvalde’s 911 dispatcher received a report that the Shooter was on the school
campus. (11:29 a.m.).

122. Uvalde Police Department (hereafter “UPD”) broadcast that shots had been fired at
Robb Elementary School. The broadcast asked all units to respond. (11:30 a.m.).

123. Oncea shot is fired at a school. it is an active shooter incident. As TXDPS Director
McCraw has testified, “[w]hen a subject fires a weapon at a school he remains an active shooter
until he is neutralized....”” This was an active shooter incident.

124. The Shooter kept shooting from the school parking lot near the West building. Then
he walked along the outside of the West building. He fired into Classroom 102, shattering parts of
the exterior window. (11:32 a.m.).

125. Inside Classroom 102, children lay flat on the floor. (Allegations concerning the
timing and sequencing of events inside the classrooms cannot be made with the same degree of
specificity or certainty as allegations regarding most events taking place outside the classrooms.
Plaintiffs therefore do not allege the time of events inside the classrooms.)

126. The Shooter kept moving. He walked by the windows of Classrooms 103, 104, 105,

and 106.
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127. All of those classrooms had students and/or teachers inside. In Classroom 106, the

teacher hid her students and prayed.
128. The Shooter fired three barrages into the exterior walls and windows of those

classrooms. (11:32 a.m.).

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Diagram of Shooter's Movement Toward West Building
129. Officers arriving on scene heard shots fired and knew this was an active shooter.

(11:32 a.m.). At least one officer already on scene was armed with an AR-15 and extra magazines.

H. THE ACTIVE SHOOTER ENTERS ROBB ELEMENTARY SCHOOL
WEST BUILDING
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130. The Shooter entered the West building via its northwest door, which was closed but
unlocked. (11:33 a.m.).

131. The Shooter walked into the northwest hallway, then turned right. Classrooms 111
and 112 were on his left; Classrooms 105 and 106 were on his right. He started shooting into
Classroom 111 or 112 through the walls and turned left into the vestibule in front of those rooms.

132. UPD radio broadcast that there was a shooter inside Robb Elementary School, that
there was a shooting inside, and this was a “school shooting.” (11:33 a.m.). The UPD broadcast
channel was accessible to all the law enforcement officers in the area, including UCISD-PD,
County, TXDPS, and federal officers. On information and belief, some or all UCISD-PD and
TXDPS officers responding to the scene heard broadcasts herein alleged on the UPD channel.

133. In Classroom 111, Teacher Arnulfo Reyes heard a bang. He put the classroom in
lockdown. He told the children to get under the table and act like they were asleep. He saw shrapnel
come through the sheetrock walls of his classroom.

134. One of the teachers in Classroom 112, either Eva Mireles or Irma Garcia, said,
“we're on severe lockdown.” A student turned off the movie. A teacher in Classroom 112 told her
students to hide, and they hid behind their teacher’s desk, behind the backpacks, and under a table.

135. The Shooter entered either Classroom 111 or 112. (Witnesses in the classrooms
differ about which classroom was entered first, and the existing investigations are also
inconclusive.)

136. In Classroom 111, the students had hidden under a table so that they wouldn’t be

visible from the doorway.

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137. Teacher Reyes turned around and saw the Shooter. The Shooter fired at him. Reyes
couldn’t feel his arm, and fell to the floor, face down. The Shooter fired under the table, where
children were. The Shooter kept firing into Classroom 111.

138. On information and belief, nine-year-old J.C. was hit by shrapnel and bloodied but
not fatally injured. J.C. lay among her wounded classmates.

139. Bleeding on the floor, Mr. Reyes thought, “somebody’s going to come help us.”

140. Defendant TXDPS Sergeant Juan Maldonado arrived on scene. (11:34 a.m.).

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141. In Classroom 112, the Shooter said, “It’s time to die.”

142. The teachers in Classroom 112 attempted to protect their students with their bodies,
standing in front of the children as the Shooter fired. He approached one of the teachers and said,
“goodnight.” He shot her in the head.

143. Both teachers were shot. Then the Shooter shot children and the whiteboard in
Classroom 112.

144. A UPD Sergeant approached the south doorway of the West building and
transmitted over the radio, “Shots fired! Get inside! Go, go, go!” (11:35 a.m.). Gun smoke and a
cloud of debris from drywall hung visibly in the hallway outside Classrooms 111 and 112. There

were bullet holes in the walls and spent rifle casings on the floor.

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145. UPD and UCISD officers entered the building. They heard gunfire in Classrooms
111 and 112. They saw and smelled the gun smoke and drywall cloud. (11:35 a.m.). They knew
this was an active shooter incident.

146. Officers now inside the building included Defendants UCISD-PD Officer Adrian
Gonzales and UCISD-PD Chief Arredondo.

147. The Shooter fired another barrage of gunfire in Classrooms 111 and 112. (11:35

148. The teacher in Classroom 106 heard screaming. Bullets came through the interior
wall of her classroom, opposite Classroom 112.

I. DEFENDANT OFFICERS FROM THE TXDPS ARRIVE ON SCENE WITHIN
TWO MINUTES OF THE SHOOTER ENTERING THE SCHOOL, WHILE THE
SHOOTER IS SHOOTING INSIDE CLASSROOMS 111 AND 112
149. Defendant TXDPS Sergeant Juan Maldonado arrived on scene within sixty

seconds of the Shooter entering the West building. Defendant TXDPS Trooper Elizondo arrived

on scene one minute after that. (11:35 a.m.).

150. Unlike UPD and UCISD-PD responders, Defendant Sergeant Maldonado and
defendant Trooper Elizondo represented the TXDPS. According to its own website, TXDPS is
the “premier law enforcement agency” in the state of Texas, and “one of the finest in the nation.”
TXDPS total agency budget for the 2022 fiscal year was over $1.6 billion, of which $27,004,064
was allocated to the Texas Rangers alone. In comparison, the 2021-2022 budget for the UCISD
had a total of $435,270 allocated to security and monitoring services, .03% of the TXDPS budget.

151. TXDPS’s mission is to “Protect and Serve Texas.” TXDPS’s role is to provide
public safety capabilities that smaller law enforcement agencies in Texas either do not have or

cannot sustain at the level and intensity needed. TXDPS’s mandate includes responding to and
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taking responsibility over threats to public safety in Texas, including mass attacks in public places

and individual radicalized violent actors. This role is crucial when active public safety threats occur

in communities with smaller police departments that have less personnel and resources, like the

active shooter incident at Robb Elementary School on May 24, 2022.

152. Standards for TXDPS officers are high. Per TXDPS, “[a] Trooper must be educated,
competent, and capable of handling every situation. A Trooper must be a problem-solver, a critical
thinker, and must work independently.” TXDPS officers are trained in active shooter response
under the ALERRT protocols and in SWAT tactics.

153. At least 91 officers from TXDPS responded to the active shooter incident at Robb
Elementary School on May 24, 2022.

154. Police sergeants typically coordinate and control front line responses and
investigations, allocating resources, directing activities, managing risk, and reviewing progress of
investigations. Defendant TXDPS Sergeant Maldonado had supervisory authority over TXDPS
troopers on scene.

J. DEFENDANT UCISD-PD OFFICERS RETREAT, TRAPPING STUDENTS AND
TEACHERS WITH THE ACTIVE SHOOTER, WHILE DEFENDANT TXDPS
OFFICERS HESITATE
155. The Shooter began another barrage of gunfire inside the classrooms. (11:36 a.m.).
156. On information and belief, although they could hear the active shooting inside the

school, Defendants TXDPS Sergeant Maldonado and TXDPS Trooper Elizondo moved

toward the school but hesitated outside.

157. Achild in Classroom 111 called 911 and whispered, “help me.” She said she was

in Room 111. Dispatch told the child to stay on the line. (11:36 a.m.).

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158. Officers approached Classrooms 111 and 112. These officers included Defendants

UCISD-PD Chief Arredondo and UCISD-PD Officer Adrian Gonzales.

159. On information and belief, UCISD-PD Chief Arredondo and UCISD-PD Officer

Gonzales saw the classroom doors.

Classroom 112’s Door, with Broken Window Glass and Bullet Holes from the Shooter
160. As officers, including Defendants Arredondo and Gonzales, approached
Classrooms 111 and 112, they also saw the bullet holes in the walls and the 5.56 NATO rounds on
the floor. One officer said, “it’s an AR. It’s an AR.”
161. As they approached the classrooms, the Shooter continued firing. An officer
suffered a graze on his ear from shrapnel and another officer received a minor graze wound.
162. Allofficers on scene, including Defendants, knew that a subject had fired a weapon
at a school, and he was an active shooter until neutralized. ALERRT doctrine required that officers
on scene immediately isolate and neutralize the Shooter in order to stop the killing and stop the

dying.

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163. Officers, including Defendants Arredondo and Gonzales, rejected ALERRT
doctrine. They stopped and then retreated. (11:36 a.m.). They abandoned wounded children and
teachers in Classrooms 111 and 112, who remained locked down and still waiting for first
responders to open the door.

164. The officers took positions at either end of the hallway, “containing” the Shooter
so he could not escape from Classrooms 111 and 112.

165. Their actions trapped the locked down students and teachers in Classroom 111 and
112 with the active shooter.

166. Defendant TXDPS Trooper Elizondo was on the east side of the building and
heard the gunfire inside the school. (11:36 a.m.).

167. Defendant TXDPS Sergeant Maldonado was at the north hallway entrance by
11:37 a.m. He understood that the Shooter was in the building, and in a classroom. Another officer
told Defendant Maldonado they had to go in because the Shooter was shooting in a classroom.
In violation of ALERRT doctrine, Defendant Maldonado signaled that officers in the hallway
should wait because “DPS is sending people.” (11:37 a.m.).

168. The Shooter fired approximately three more shots. (11:37 a.m.).

169. An Uvalde Police officer reported, “we have him contained.” (11:37 a.m.).

170. Ina phone call to dispatch, Defendant UCISD-PD Chief Arredondo said, “we
don’t have enough fire power right now it’s all pistol and he has an AR15.”

171. Every single officer on scene, including all Defendants on scene, knew that this was
an active shooter: and knew or disregarded an excessive risk that children and teachers in the West
building were the Shooter’s targets, and that some of those children and teachers must already be

hit. Every single officer knew and understood that by prolonging the confinement of West

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building’s students and teachers with the Shooter, they were very likely harming and endangering
those students and teachers. Regardless, the officers, including Defendants TXDPS Sergeant
Maldonado, TXDPS Trooper Elizondo, UCISD-PD Chief Arredondo and UCISD-PD Officer
Gonzales confined the Shooter in Classrooms 111 and 112 and continued the lockdown of students
and teachers in those classrooms,

K. THE UVALDE COUNTY DISTRICT ATTORNEY’S OFFICE ALERTS
DEFENDANT TXDPS RANGER KINDELL ABOUT THE ACTIVE SHOOTING

172. On the morning of May 24, 2022, Defendant Ranger Kindell was working from
home. He received a call from the Uvalde County District Attorney’s Chief Investigator alerting
him about a possible active shooter incident.

173. The District Attorney’s Investigator’s call to Defendant Ranger Kindell was no
accident. Rangers are an elite division of the Texas Department of Public Safety. Of the thousands
of law enforcement officers in the state of Texas, only 166 are commissioned Rangers. “A Ranger
is an officer who is able to handle any given situation without definite instructions from his
commanding officer or higher authority,” according to the Ranger’s website. Texas Rangers have
jurisdiction everywhere and anywhere in Texas.

174. Defendant Ranger Kindell had twenty years of experience as a TXDPS officer,
as well as rapid response training and training on how to teach civilians to respond to active
shooters.

175. Defendant Ranger Kindell had the authority to exercise de facto supervisory
authority over TXDPS, UPD, UCISD and County law enforcement officers.

176. Defendant Ranger Kindell called a UPD Sergeant who was on scene to get more
information. The UPD Sergeant told Defendant Kindell that the Shooter was shooting in the

classroom and requested shields, equipment, and rifles. On information and belief, Defendant

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Kindell did not direct the UPD Sergeant to immediately follow ALERRT protocols to isolate and
neutralize the Shooter. Instead, Defendant Kindell indicated that it was acceptable to wait until
more resources arrived before engaging the Shooter.

L. OFFICERS, INCLUDING DEFENDANTS, KNEW THERE WERE STUDENTS
AND TEACHERS IN CLASSROOMS 111 AND 112 AND THEY KEPT THOSE
STUDENTS AND TEACHERS TRAPPED WITH THE SHOOTER
177. Teacher Eva Mireles was lying wounded on the floor of Classroom 112. Her

students saw her bleeding. She managed to call her husband, UCISD-PD Officer Rubin Ruiz. She

told him she was shot. UCISD-PD Officer Ruiz told multiple officers that the shooting was

happening in his wife’s classroom. (11:37 a.m.)

178. All officers in the northside hallway heard, knew and understood that there was a
teacher locked down in the classrooms with the Shooter. Regardless, they continued to confine
students and teachers in Classrooms 111 and 112 with the active shooter.

179. A UPD Sergeant repeated, “we have got to get in there.”

180. A Border Patrol Agent arrived and positioned himself along the wall at the T
intersection at the north end of the hallway. (11:38 a.m.).

181. Defendant TXDPS Captain Joel Betancourt obtained confirmation that that there
was a shooting at Robb Elementary School and headed there.

182. An officer commented over the radio “I have a male subject with an AR.” (11:39
a.m.).

183. The UPD Acting Chief radioed for “any agency available” to come out and help.

(11:39 a.m.).

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184. In classroom 102, a teacher called 911. She said they were locked down in the
classroom and that she believed someone was shot in another classroom in the building. (11:40
a.m.).

185. UPD radio broadcasted, “Male subject is still shooting.” On information and belief,
Defendant TXDPS and UCISD-PD Officers at the scene and responding to the scene heard this
transmission. (11:41 a.m.).

186. Emergency medical responders arrived in front of the school. (11:41 a.m.).

187. Defendant TXDPS Trooper Elizondo finally entered the West building. She had
previously been standing outside of the doorway (11:41 a.m.).

188. A teacher in Classroom 102 texted her husband, a Border Patrol Agent: “There’s
an active shooter. Help. Love you.” (11:41 a.m.).

189. Uvalde County constable Johnny Field, constable Emmanuel Zamora and
Uvalde Sheriff Ruben Nolasco arrive on the scene at approximately 11:42 a.m.

190. UPD radio broadcasted that there was a possible gunshot victim in a classroom.
(11:41 a.m.). On information and belief, TXDPS Defendant and UCISD-PD Defendant officers
at the scene and responding to the scene heard this transmission. They knew that they had trapped
the Shooter with the victim and cut her off from help, and that they were continuing her entrapment
without medical assistance.

191. Family members of children started arriving, congregating near a funeral home
across Geraldine Avenue from Robb Elementary School’s West building. Law enforcement
officers, however, created a perimeter and prevented those parents from coming through to the

West building. (11:41 a.m.)

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192. UPD radio broadcast that class in Classroom 112 “should be in session right now
... the class should be in session right now.” (11:42 a.m.). On information and belief, TXDPS
Defendant and UCISD-PD Defendant officers at the scene and responding to the scene heard
this broadcast. This broadcast confirmed what many already understood — that they had trapped
the Shooter with students and teachers in Classrooms 111 and 112, and that the decisions of the
officers on site were keeping those students and teachers locked down with the Shooter.

193. Defendant TXDPS Trooper Elizondo was present in the West building. (11:42

194, A girl in Classroom 112 said something. She may have said, “Officers, help us.”
The Shooter heard her. He walked over to her and shot her. (The timing of this shot cannot yet be
alleged, although it seems likely it was the shot at 11:44 a.m.).
195. All officers inside and outside the West building heard a shot. (11:44 a.m.).

196. An unknown law enforcement officer at the northwest entrance said that the
Shooter was in a classroom “with kids.” (11:45 a.m.).

197. The Shooter sat at Teacher Arnulfo Reyes’ desk in Classroom 111. Sometimes he
kicked children’s bodies and mocked them. He dropped Teacher Reyes’ cell phone on his back
and dribbled water on him to see if he would move.

M. OFFICERS, INCLUDING DEFENDANTS, STOP PARENTS FROM RESCUING
THE CHILDREN TRAPPED INSIDE CLASSROOMS 111 AND 112

198. As the incident progressed, parents learned of the danger to their children. They
came to the school, where law enforcement had set up a perimeter. Parents begged the officers to
save their children. Then parents tried to save their children themselves. Officers physically

restrained parents and family members from getting closer to the school.

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199. Parents told law enforcement officers kids were inside. (11:46 a.m.). Parents told
officers, “Either you go in or I’m going in.”

200. When parents tried to break through the law enforcement perimeter, law
enforcement officers, including TXDPS officers stopped them.

201. One man surrounded by law enforcement officers was knocked down. As he lay on
his back on the ground, at least two TXDPS Doe Defendant officers stood over him and prevented
him from getting up, while several officers in the immediate vicinity watched.

202. One parent attempting to reach her children was handcuffed and another was
tasered by a law enforcement officer.

203. One officer aimed a rifle at a student’s father, and told him and other parents to get
away.

204. The officers’ conduct was cruel. Defendant Trooper Elizondo later admitted, “If
my son had been in there, | would not have been outside. | promise you that.” And yet officers
stopped parents, ensuring that parents could not reach their children.

N. OFFICERS SAVED THEMSELVES, NOT CHILDREN, FROM THE SHOOTER’S
LETHAL BATTLE RIFLE

205. The Shooter was armed with a Daniel Defense DDM4v7, an AR-15 style rifle, and
multiple high-capacity 30-round magazines containing NATO 5.56 cartridges.

206. ALERRT doctrine makes no exceptions for AR-15s. AR-15 style rifles are
renowned for the size and severity of the wounds they produce and the likelihood that the rounds
they fire will pierce body armor, walls, and other barriers. The command to “stop the killing, stop

the dying” is even more urgent when an active shooter is using an AR-15.

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207. The AR-15’s presence and power could be felt from the first moment officers
entered the West building. 5.56 NATO rounds from the Shooter’s AR-15 had penetrated the
classroom walls into the hallway. Officers noted that the Shooter had an AR-15 at 11:36 a.m.

208. A UPD Sergeant got on his radio to warn others. “I have a male subject with an
AR.” he said. “Fuck.” an officer replied, “AR,” another exclaimed, alerting others nearby.

209. The presence of the lethal AR-15 paralyzed the response. A UPD officer
commented later, “I knew too it wasn’t a pistol. ... | was like. ‘Shit, it’s a rifle."” he said. He added,
“The way he was shooting, he was probably going to take all of us out.” Officers reasoned there
was “no way” to take action, and the only thing they could do was wait. One UPD Sergeant said,
“You knew that it was definitely an AR.... There was no way of going in.... We had no choice but
to wait and try to get something that had better coverage where we could actually stand up to him.”
ALERRT doctrine utterly rejects this excuse for delay. In an active shooter incident, the only
choice is immediate isolation and neutralization of the shooter, because that is the only action that
stops the killing and stops the dying.

210. Officers did not want to move forward until they had rifle-rated shields. A UPD
Lieutenant later said, “[you] can only carry so many ballistic vests on you. That .223 (caliber)
round would have gone right through you.” Defendant UCISD-PD Chief Arredondo said he
“need[ed] lots of firepower” because of the Shooter’s AR-15.

211. Defendant TXDPS Sergeant Maldonado was with troopers outside the West
building. He said, “This is so sad dude.... He shot kids bro.” Officers standing with him discussed
that they knew this was something that needed to be done “now” and “ASAP.” Defendant TXDPS

Officer Richard Bogdanski asked, “You know what kind of gun?” and an officer responded “AR,

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he has a battle rifle.” “What’s the safest way to do this? I’m not trying to get clapped out,”
Defendant Bogdanski replied.

212. These same officers knew that the Shooter had used his AR-15 to unleash barrages
of fire on teachers and students. Every minute that officers waited on rifle-rated shields, “lots of
firepower,” and even aerial support, children and teachers faced the Shooter with no protection at
all.

O. OFFICERS, INCLUDING DEFENDANTS, ARE INDIFFERENT TO THE FACT
THAT A TEACHER IS DYING INSIDE CLASSROOM 112

213. Three Border Patrol agents entered through the northwest door carrying ballistic
shields and other equipment. (11:51 a.m.).

214. Although he knew students and teachers were confined with the active Shooter in
Classrooms 111 and 112 and had heard the Shooter fire repeatedly, Defendant UCISD-PD Chief
Arredondo intended to “start negotiations” with the Shooter. (11:55 a.m.).

215. Officer Ruiz tried again to save his wife and the students who were with her. He
told officers in and around the West building that his wife, a teacher in Classroom 112, had been
shot. Officers were indifferent to teacher Eva Mireles’ plight. They stopped Officer Ruiz from
entering Classrooms 111 and 112, took his weapon and escorted him out the door. (11:56 a.m.).

216. Inside the West building, Defendant TXDPS Special Agent Luke Williams was
in the hallway outside of one of the classrooms with two other Doe Defendant TXDPS officers.
(11:57 a.m.).

217. While driving to Robb Elementary School, Defendant TXDPS Captain
Betancourt spoke with an Uvalde County Sherriff for updates.

218. By 11:59 a.m., at least eight TXDPS officers and at least seven Border Patrol

Agents and one US Marshal had been in or were currently inside of the West building.

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219. Defendant Ranger Kindell arrived on scene. He was told that the Shooter was
inside Classrooms 111 and 112. (11:59 a.m.).

220. Defendant UCISD-PD Chief Arredondo again attempted to negotiate with the
Shooter from the hallway. (11:59 a.m. — 12:01 p.m.).

221. Inside classroom 111, Teacher Arnulfo Reyes heard the police speaking to the
Shooter and attempting to negotiate.

222. Doe Defendant TXDPS Sergeant outside of the northwest entrance of the West
building stated that that the Shooter shot kids. (12:02 p.m.).

223. Achildin classroom 112 called 911. The child pleaded for help. The call lasted one
minute. (12:03 p.m.).

224. Officers evacuated children from some classrooms in the West building. Like the
children in Classrooms 111 and 112, those children and teachers had stayed still and silent, waiting
for first responders to open the door, just exactly as the lockdown drill requires.

225. Defendant Ranger Kindell ordered that TXDPS send all troopers available to
assist with crowd control. (12:06 p.m.).

226. Parents were moving toward the northwest corner of the school. Some were armed.
Officers stopped them. (12:07 p.m.).

227. In Classroom 112, a child had covered herself in her friend’s blood so the Shooter
would believe she was dead.

228. This child and her friend knew some of the wounded in Classroom 112 were
running out of time. They had watched one of their classmates be shot as she tried to call 911. But
their teacher Eva Mireles was dying. They quietly took a teacher’s phone and called 911. (12:10

p.m.).

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229. On information and belief, Defendant Ranger Kindell told other officers that he
had someone in the building who would handle going into the classrooms.

230. On information and belief, the UPD Acting Chief deferred to Defendant Ranger
Kindell, understanding that he had taken command. (12:10 p.m.). Other UPD officers did the same.
(12:11 p.m.).

231. UPD radio broadcasted that a child had called 911 and was ina room full of victims.
This transmission was heard on both sides of the hall and outside the building. (12:12 p.m.).

232. The BORTAC Commander, who was now inside the building, was told that there
were victims inside Classrooms 111 and 112. (12:13 p.m.).

233. Officers prolonged the lockdown looking for keys (which they did not need because
the door to Classroom 111 was not locked). (12:13 p.m.).

234. This child and her friend whispered to the 911 dispatcher that their teacher was stil]
alive and needed help. They asked for help. (12:13 p.m.).

235. Dispatch alerted officers in the West building. The UPD Acting Chief said, “a child
just called. They have victims in there. Called 911.” (12:13 p.m.).

236. The children in Classroom 112 were trying to keep quiet, but some were wounded,
and they were all terrified. One teacher was dead, and one was dying. There was no one to help
them stay quiet. This child and her friend told 911, “send an ambulance right away.” (12:14 p.m.).

237. They said to please hurry. Their teacher was about to die. (12:15 p.m.). They asked,
should they open the door? They were trying to save their teacher’s life. They knew she needed
help. Dispatch told them to stay quiet. They said that their teacher wouldn’t stay quiet. (12:16
p.m.).

238. Dispatch said they are sending officers, but no help came. (12:17 p.m.).

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239. This child and her friend said officers need to come now, but no one came. (12:18
p.m.).

240. Dispatch continued to tell them not to open the door. (12:19 p.m.).

241. The Shooter was in Classroom 111. He shot Teacher Arnulfo Reyes in the back.
Then he shot at the children under the table again. On information and belief, a round struck J.C.
directly.

242. In Classroom 112, a child and her friend were still on the phone with 911 dispatch.
They said, “he’s shooting.” Dispatch told them to stay quiet. (12:21 p.m.).

243. Defendant officers heard the shots. They already knew children and a teacher were
alive and trapped inside; now they knew he was shooting at them again.

244. On the south side of the hallway, Defendant UCISD-PD Chief Arredondo
continued to try to negotiate with the Shooter, “can you hear me, sir? Can you hear me, sir?” (12:21
p.m.).

245. Defendant Texas Ranger Kindell heard the gunfire. He had been on scene for 24
minutes. He was now in the West building, also planning to negotiate with the Shooter, in direct
violation of ALERRT protocols. On information and belief, he knew negotiation would continue
to trap students and teachers who were still alive in Classrooms 111 and 112 with the Shooter.
(12:23 p.m.).

246. Officers continued to try to find a key that would work on the doors to Classroom
111 and 112, even though the door to Classroom 111 was unlocked. (12:23 p.m.).

247. A BORSTAR medic said to officers in and near the West building, “the victims
have been bleeding for a while.” (12:24 p.m.). Officers still did not permit the medic to approach

Classrooms 111 and 112.

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248. An officer said, “There’s a teacher shot in there.” Another officer responded, “I
know.” (12:27 p.m.).

249. Defendant TXDPS Captain Betancourt arrived on scene. (12:30 p.m.).

250. Twenty-one minutes elapsed, while officers, including Defendant Ranger Kindell
and all TXDPS Defendants and UCSID-PD Defendants continued to contain the Shooter with
living children and teachers in Classrooms 111 and 112.

251. On the radio, Defendant TXDPS Captain Betancourt said “Hey. this is DPS
Captain Betancourt. The team that’s going to make breach needs to stand by. The team that’s gonna
breach needs to stand by.” (12:48 p.m.).

252. Finally, at 12:49 p.m. — over 73 minutes since officers first confined the Shooter
with the students and teachers in Classrooms 111 and 112 — a team lead by the BORTAC
Commander opened the door to Classroom 111, ending the lockdown. (12:49 p.m.). The Shooter
was killed, and no one on the entry team was seriously injured. (12:50 p.m.).

P. OFFICERS’ DECISION TO CONTAIN THE SHOOTER WITH HIS VICTIMS
CAUSED CHILDREN TO SUFFER AND DIE

253. Officers, including Defendants TXDPS Sergeant Maldonado, TXDPS Trooper
Crimson Elizondo, UCISD-PD Chief Arredondo, and UCISD—PD Officer Gonzales, were on
scene by 11:35 a.m., while the Shooter was firing in Classrooms 111 and 112. Defendant Kindell
was told this was an active shooter incident at approximately 11:35 a.m., acted in a supervisory
capacity from that moment forward, and arrived on scene at 11:59 a.m.

254. At 11:36 a.m., officers approached Classrooms 111 and 112 to breach the doors.
When the Shooter fired and two officers were hit by shrapnel, they retreated instead of isolating
and neutralizing the Shooter. Their actions contained the Shooter in the same two rooms as his

victims for 73 minutes.

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255. The Defendants’ actions gave the Shooter leisure to torture and traumatize his
victims. Children watched the Shooter tell classmates, “It’s time to die,” and shoot them. Using
the victims’ blood as ink, the Shooter wrote “LOL,” on the whiteboard in Classroom 111. On
information and belief, the Shooter mocked wounded children and kicked them to see if they were
dead.

256. During those 73 minutes, the Shooter fired 19 more times: eleven shots over 53
seconds at 11:36 a.m.; three shots at 11:37 a.m.; one shot at 11:44 a.m.; and four shots at 12:21
p.m.

257. One of those shots was fired at close range into teacher Arnulfo Reyes’ back, as he
lay prone on the floor in Classroom 111. On information and belief some of these shots injured
children.

258. On information and belief one of these shots went through the walls striking
Plaintiff Elsa Avila in her classroom in room 109.

259. Oninformation and belief, the remaining 16 shots were aimed at children, and some
or all of those shots wounded or killed one or more of the children.

260. In addition to enabling the Shooter to fire 19 rounds at his victims at close range,
Defendants’ actions denied wounded victims, crucial medical care.

261. On information and belief, earlier medical intervention could have saved at least
one of these children. Medical care was also denied to the teacher Elsa Avila and the deceased
Irma Garcia.

Q. PLAINTIFFS HAVE RECEIVED LITTLE TRANSPARENCY AND NO
ACCOUNTABILITY

262. Plaintiffs are grieving an unimaginable loss. Responding law enforcement officers’

betrayal of their children’s trust — and theirs — increased their suffering exponentially. The officers

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and departments that failed these children owe plaintiffs complete transparency and full
accountability, and again they have failed these families. To date, they have provided little
transparency and no accountability.

263. Each responding law enforcement agency, including the TXDPS, has some or all
of the following records that show exactly what was done by whom on May 24, 2022: body camera
footage, recordings of radio communications, dispatch transmission recordings and logs. and
recorded and/or written statements of responding officers and victims.

264. TXDPS has acknowledged that complete transparency is the right thing to do.
Facing early public outrage about the law enforcement response, TXDPS Director McCraw
promised, “When we get the ability to come talk to you, I’ll go line by line in terms of what trooper
did what .... what DPS officer. We'll be entirely transparent,” and “[t]he public will have it —
they’ll have excruciating details in terms of what we did, when we did it and those gaps.”

265. TXDPS has broken its promise of transparency. In the almost two years since the
shooting, the TXDPS has fought in court to conceal its body camera footage and radio traffic from
Uvalde’s victims and the public.

266. The Texas Rangers investigated the response to the shooting, including the actions
of the 91 responding TXDPS officers.

267. In August 2022, the Texas Rangers asked Dr. Mark Escott, Medical Director for
TXDPS and Chief Medical Officer for the City of Austin, to look into the injuries of the victims
and determine whether any victims could have survived. The request was apparently a delaying
tactic, not a search for the truth. Dr. Escott was never given access to autopsy reports or hospital

and EMS records. A year later, the Rangers told Dr. Escott they were “moving in a different

direction” and no longer wanted the analysis to be performed.

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268. The TXDPS delivered a final report to the Uvalde County District Attorney so that
she could determine whether to press charges. The TXDPS chose not to make that report public
and has taken active steps to prevent its release, even despite a court order to do so which they
have appealed.

269. The Uvalde County District Attorney has provided the TXDPS with another means
to delay and avoid transparency. The District Attorney refuses to release crime scene photos,
ballistics analysis, autopsies, and other information that would enable Plaintiffs to allege with
greater specificity what happened in Classrooms 111 and 112.

270. Nor has the TXPDS held any of its officers fully to account for their actions.
Minutes of a state police captains’ meeting document Director McCraw as telling his officers, “no
one is going to lose their jobs” for their conduct during the shooting.

271. Defendant Kindell was suspended in September 2022 for failing to perform his
duties, and was issued a preliminary termination letter by TXDPS Director McCraw in January
2023. Defendant Kindell was given the opportunity to meet with McCraw before the termination
decision was finalized, but according to a TXDPS spokesperson, that meeting will not occur until
the grand jury has made a decision on criminal charges. Defendant Kindell continues to draw a
Ranger’s salary.

272. Defendant Elizondo resigned from TXDPS while under investigation for actions
inconsistent with training and Department requirements in connection with her response at Robb
Elementary on May 24, 2022.

273. Defendant Maldonado was served termination papers by TXDPS in October 2022

following an investigation into his actions at Robb Elementary on May 24, 2022. TXDPS did not

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disclose the grounds for his termination. TXDPS ultimately did not terminate Defendant
Maldonado and allowed him to retire instead.

274. Defendant Betancourt’s actions at Robb Elementary on May 24, 2022, were
investigated by TXDPS, but he remains employed with the agency.

275. To date, not one person from TXDPS has been fired in connection with their
response to the shooting at Robb Elementary on May 24, 2022.

276. A total of 376 law enforcement officers had responded to the active shooter incident
at Robb Elementary School: 91 TXDPS officers, 26 officers from the UPD, 179 officers from
federal agencies, county sheriffs and constables from Uvalde and elsewhere, and the five UCISD-
PD officers.

V.
FIRST CAUSE OF ACTION: ALL PLAINTIFFS AGAINST
TXDPS DEFENDANTS AND INDIVIDUAL UCISD-PD DEFENDANTS
VIOLATION OF 42 U.S.C. § 1983 (VIOLATION OF FOURTEENTH AMENDMENT,
SUBSTANTIVE DUE PROCESS CLAUSE/SPECIAL RELATIONSHIP)

277. Plaintiffs reallege and incorporate by reference each of the preceding paragraphs
and all subsequent paragraphs as though fully restated herein.

278. The TXDPS Defendants and individual UCISD-PD Defendants responded to an
active shooter incident at a school.

279. On information and belief, and as previously alleged, these Defendants knew even
before they arrived on scene that this was an active shooter incident, and that their duty was to
neutralize the Shooter immediately.

280. Defendants knew that the students and teachers in all classrooms at Robb

Elementary School — including Classrooms 111 and 112 — were required to and would follow

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lockdown procedures and that those lockdown procedures required those children and teachers to
remain in their classrooms until authorized by law enforcement personnel to leave.

281. When Defendants arrived on scene, they took control of the physical location of
the Shooter and the children and teacher who were his victims. They confined the Shooter to
Classrooms 111 and 112. They confined three teachers and thirty students with him.

282. Each Defendant knew that the Plaintiffs were unable to provide for their own safety
when confined to a classroom with an active shooter carrying an AR-15.

283. Defendants also set up and enforced a perimeter around the school.

284. Each Defendant knew and intended that this law enforcement perimeter would
prevent parents from reaching their children inside Robb Elementary School.

285. Each Defendant knew that their actions were preventing the Plaintiffs parents
and/or spouses from reaching Classrooms 111 and 112 to provide safety from the Shooter.

286. Medics arrived on scene to provide life-saving care for those wounded by the
Shooter.

287. Each Defendant knew that their actions were delaying needed medical care from
reaching the wounded in Classrooms 109, 111 and 112.

288. For any and all of these reasons and as previously alleged, the children and teachers
in these rooms were in the custody of Defendants. Again, state-mandated lockdown drills required
children to remain in the classroom until authorized to leave by law enforcement officers. Their
liberty had been taken from them and they were not free to leave these rooms. Following those
drills, children stayed still and silent. Finally, in desperation, they called 911 and begged for help

and permission to leave and were told by dispatchers to remain in place. Parents were not permitted

to provide protection to their children either. Law enforcement officers ensured through their

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actions that no person would be permitted to rescue or protect the children and their teachers other
than law enforcement officers.

289. | Each Defendant knew that students and teachers in Classrooms 111 and 112 were
confined with the Shooter, unable to provide for their own safety, and cut off from receiving
assistance from their parents, medics or anyone but law enforcement. Thus, each Defendant knew
students and teachers in Classrooms 111 and 112 were in their custody.

290. While in Defendants’ custody, these children and teachers had constitutional rights
to be free from bodily harm, abuse, and psychological torture.

291. Each Defendant violated those rights.

292. Objectively, all of these children and their teachers were subjected to the need for
serious medical care and were being exposed to physical danger and psychological harm. With
the subjective knowledge of the harm and the danger they were exposing these children and their
teachers to, each Defendant acted with deliberate indifference to the plight of these children and
teachers and consciously disregarded this risk.

293. Each Defendant knew and understood that the longer locked down children and
teachers remained trapped with the Shooter, the more students and teachers were likely to die,
either because the Shooter would find them and shoot them, or because they would succumb to
wounds that he had already inflicted; they would continue to be denied medical care and would
continue to be exposed to psychological trauma and terror.

294. The known and obvious consequences of each Defendant’s actions were that the
students and teachers in their custody would be shot, deprived of life-saving medical care, and

terrorized by the Shooter.

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295. In carrying out these actions, these Defendants acted with conscious disregard for
the known and obvious consequences of their actions and inaction.

296. These actions by the TXDPS Defendants and individual UCISD-PD Defendants
resulted in the death, wounding, and/or psychological terror of these children and teachers.

297. If these Defendants. or any one of them, had acted to protect the reasonable safety
of the children or their teachers, one or more of the children or their teachers would not have died.

298. If these Defendants, or any one of them, had acted to protect the reasonable safety
of the children or their teachers, one or more of the children or their teachers would have been
spared the emotional torture of being in their classrooms with the Shooter waiting for help that did
not come.

299. Further, had parents been able to reach the West building, they or law enforcement
officers would have breached the classrooms and neutralized the Shooter well before 12:49 p.m.,
and emergency personnel would have been able to enter the classrooms and provide emergency
medical services to wounded children.

300. If such intervention had occurred, one or more of the children or their teachers
would not have died.

301. If parents had breached the classrooms, they would have been able to comfort one
or more of their children who were wounded and possibly dying. Instead, one or more of these
children lay wounded or dying, terrified and without comfort.

302. ‘If parents had breached the classrooms, one or more of the children and their

teachers would have been spared emotional torture and trauma.

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303. Further, these actions by the TXDPS Defendants and the individual UCISD-PD
Defendants deprived the parents and spouses of the right to protect their children or loved ones
from the active shooter and to aid and comfort one or more of them.

304. As a direct and proximate result of these police actions, Plaintiffs sustained the
damages hereinafter alleged.

VI.
SECOND CAUSE OF ACTION: ALL PLAINTIFFS AGAINST

TXDPS DEFENDANTS AND INDIVIDUAL UCISD-PD DEFENDANTS
VIOLATION OF 42 U.S.C. § 1983 (SUBSTANTIVE DUE PROCESS, STATE CREATED

DANGER)

305. Plaintiffs reallege and incorporate by reference each of the preceding paragraphs
and all subsequent paragraphs as though fully restated herein.

306. The TXDPS Defendants and the individual UCISD-PD Defendants created an
environment dangerous to these children and their teachers.

307. These Defendants knew the environment was dangerous to the children and their
teachers.

308. These Defendants created an opportunity that would not have otherwise existed for
the Shooter to harm one or more of the children or their teachers.

309. These Defendants’ actions caused the children and their teachers to be exposed to
acts of violence by the Shooter, and increased the risk that these children and their teachers would
be exposed to such acts of violence.

310. These Defendants” actions placed these children and their teachers specifically at
risk,

311. These Defendants knew or should have known that their actions were specifically

endangering students and teachers in Classrooms 109, 111 and 112.
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312. The harm to these children and their teachers caused by these Defendants’ actions
was foreseeable and direct.

313. The known and obvious consequences of each of these Defendant’s actions was
that the students and teachers in their custody would be shot, deprived of life-saving medical care,
and terrorized by the Shooter.

314. In carrying out these actions, these Defendants acted with conscious disregard for
the known and obvious consequences of their actions.

315. Each Defendant's actions caused the death, wounding, and/or psychological torture
and trauma to one or more of the children and their teachers.

S16. Further, these actions by Defendants deprived the parents these children of the
right to protect their children from the active shooter and to aid and comfort one or more of them.

317. Asa direct and proximate result of these police actions, Plaintiffs sustained the
damages hereinafter alleged.

VIL.
THIRD CAUSE OF ACTION: ALL PLAINTIFFS AGAINST
TXDPS DEFENDANTS AND INDIVIDUAL UCISD-PD DEFENDANTS

VIOLATION OF 42 U.S.C, § 1983 (VIOLATION FOURTH AMENDMENT,
UNLAWFUL SEIZURE)

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318. Plaintiffs reallege and incorporate by reference each of the preceding paragraphs
and all subsequent paragraphs as though fully restated herein.

319. By using force and authority to involuntarily confine students and teachers inside
Classrooms 109, 111 and 112 with the active Shooter, the TXDPS Defendants and individual
UCSID-PD Defendants seized these children and their teachers, in violation of clearly established

rights secured to them by the Fourth and Fourteenth Amendments.

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320. Each of these Defendants was deliberately indifferent to the rights of the minor
Plaintiffs and the rights of their parents.

321. Asadirect and proximate result of the misconduct of these Defendants as described
herein, the Plaintiffs sustained the damages hereinafter alleged.

VIIL.

FOURTH CAUSE OF ACTION: ALL PLAINTIFFS AGAINST
DEFENDANT ARREDONDO IN HIS OFFICIAL CAPACITY, UVALDE
CONSOLIDTED INDEPENDENT SCHOOL DISTRICT, VIOLATION OF 42 U.S.C. §
1983 (VIOLATION FOURTH AND FOURTEENTH AMENDMENTS, FAILURE TO
TRAIN/CREATION OF POLICY)

322. Plaintiffs reallege and incorporate by reference each of the preceding paragraphs
and all subsequent paragraphs as though fully restated herein.

323. Defendant Arredondo in his official capacity and Defendant UCISD are
hereafter referred to as “the Policy-Making Uvalde Defendants.”

324. Despite clear national standards for active shooter incidents, the Policy-Making
Uvalde Defendants failed to ensure that their officers were adequately trained and failed to
develop meaningful plans to address an active shooter incident.

325. This lack of training and egregious delay demonstrated deliberate indifference to
the Fourth and Fourteenth Amendment rights of students and teachers who would be locked down
during an active shooter event including the rights of Plaintiffs.

326. The Policy-Making Uvalde Defendants failed to adequately train, supervise, and
discipline the individual UCISD-PD Defendants regarding how to identify and respond to an
active shooter incident. The result was that individual UCISD-PD Defendants and TXDPS

Defendants violated the clearly established rights secured to them by the Fourth and Fourteenth

Amendments as previously alleged.
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327. Defendant Arredondo, as Chief of Police for the UCISD-PD, was a final
policymaker for the UCISD with regard to the tactics, arrests, and training of UCISD-PD officers
at all relevant times herein.

328. Defendant Arredondo, acting as final policymaker, adopted an on-scene policy
that was the exact opposite of “stop the killing and then stop the dying” and all other written active
shooter policies. His policy was to confine the students and teachers inside their classrooms,
including classrooms 109, 111, 112 with the Shooter, depriving them of emergency medical care
and preventing rescue by their loved ones.

329, By virtue of any and all of these actions and omissions, the Policy-Making Uvalde
Defendants were deliberately indifferent to the constitutional rights of these children and their
teachers.

330. Asa direct and proximate result of these actions and inactions, Plaintiffs sustained
the damages alleged herein.

IX.
FIFTH CAUSE OF ACTION: ALL PLAINTIFFS AGAINST DEFENDANT
ARREDONDO IN HIS OFFICIAL CAPACITY, UVALDE CONSOLIDATED
INDEPENDENT SCHOOL DISTRICT, VIOLATION OF 42 U.S.C. § 1983

(FOURTEENTH AMENDMENT SPECIAL RELATIONSHIP AND STATE CREATED
DANGER, FAILURE TO TRAIN/CREATION OF POLICY)

331. Plaintiffs reallege and incorporate by reference each of the preceding paragraphs
and all subsequent paragraphs as though fully restated herein.

332. The Policy-Making Uvalde Defendants failed to adequately train, supervise, and
discipline the Law Enforcement Individual Defendants regarding how to identify and respond to
an active shooter incident. The result was that law enforcement officers employed by Policy-

Making Uvalde Defendants confined these children and their teaches with the Shooter and

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illegally created a dangerous environment for them, as previously alleged. Further, they were in
the custody of law enforcement officers, as previously alleged.

333. Defendant Arredondo, acting as final policymaker, adopted a policy of confining
the Child Plaintiffs with the active shooter and increasing the danger to them as previously alleged.

334. By virtue of these actions and omissions, the Policy-Making Uvalde Defendants
were deliberately indifferent to the constitutional rights of these children and their teachers.

335. As a direct and proximate result of these actions, omissions and policies, they
sustained the damages alleged herein.

X.
SIXTH CAUSE OF ACTION: ALL PLAINTIFFS AGAINST

MOTOROLA SOLUTIONS, INC.,
PRODUCTS LIABILITY — FAILURE TO WARN

336. Plaintiffs reallege and incorporate each of the preceding paragraphs, and all
subsequent paragraphs.

337. Plaintiffs bring this strict liability claim against Defendant Motorola for failure to
warn of the dangers and risks associated with use of its products.

338. Motorola’s products were defective and unreasonably dangerous because they did
not contain adequate warnings or instructions concerning failure during normal use. These actions
were under the ultimate control and supervision of Motorola.

339. Mbotorola’s products are used for public safety and in public settings and Motorola
had a duty to warn of the risks of failure associated with the reasonably foreseeable use of the
products and a duty to instruct on the proper and safe use of these products.

340. At all relevant times, Motorola had a duty to properly research, test, develop.
manufacture, inspect, label, market, promote, provide proper warnings, and take such steps as

necessary to ensure that its products did not fail during an emergency causing others to suffer

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unreasonable and dangerous risks and harm. Motorola had a continuing duty to instruct on the
proper, safe use of these products, especially given that the products were used by schools and first
responders. Motorola, as the designer, manufacturer, seller, or distributor, is held to the knowledge
of an expert in the field.

341. Motorola could have provided warnings or instructions regarding the full and
complete risks of its products because it knew or should have known of the unreasonable risks of
harm associated with the use of products and/or failure during use.

342. Motorola failed to properly investigate, study, research, test, manufacture, and
label their products and failed to minimize the dangers to others due to product failures. Motorola
knew failing to do so would be catastrophic and prevent schools and first responders from
protecting victims such as these children and their teachers during an attack.

343. Motorola’s products reached its intended users without substantial change in their
condition as designed, manufactured, sold, distributed, labeled, implemented, and sold by
Defendants.

344. Asaresult of Motorola’s failures to warn, Motorola’s products were defective and
unreasonably dangerous when they left the possession and/or control of Motorola and were used
by its consumers on the day of the school shooting. That defect was a producing cause of the
injuries made the basis of this suit.

345. Motorola is liable for the physical harms caused in this case, and Plaintiffs plead
for all of their damages as set forth below.

XI.
SEVENTH CAUSE OF ACTION: ALL PLAINTIFFS AGAINST

MOTOROLA SOLUTIONS, INC.,
PRODUCTS LIABILITY — MANUFACTURING DEFECT

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346. Plaintiffs reallege and incorporate each of the preceding paragraphs, and all
subsequent paragraphs.

347. Plaintiffs bring this strict liability claim against Motorola for manufacturing defect.

348. At all relevant times, Motorola researched, tested, developed, manufactured,
marketed, sold and/or installed communications, radio, and security systems used for safety.

349. Motorola’s products, however, deviated in their construction or quality from the
specifications or planned output in a manner that rendered them unreasonably dangerous. This
defect rendered Motorola’s products inoperable and/or ineffective in the life-or-death emergency
at Robb Elementary School on May 24, 2022. This made Motorola products unusable and
therefore dangerous to an extent beyond that which would be contemplated by the ordinary user
of the product, with the ordinary knowledge common to the community as to the product’s
characteristics. The above manufacturing defect was a producing cause of the injuries made the
basis of this suit.

350. Based on information and belief, Motorola’s products were defective and
unreasonably dangerous because they failed during normal use and when used as intended.
Motorola’s systems and devices failed inside the school building leaving first responders without
information communicated from dispatch and/or other first responders.

351. Motorola is liable to Plaintiffs for injuries caused as a result of its products’
manufacturing defects.

352. The products’ defects were substantial and a producing cause of Plaintiffs’ injuries.

353. Motorola is liable for the physical harms caused in this case, and Plaintiffs plead

for all of their damages as set forth below.

XI. DAMAGES

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354. As aresult of the causes of action above, these Plaintiffs — as well as their whole
community — have suffered a degree of loss, pain, anguish, and destruction of their lives beyond
understanding. For each of those causes of actions, Plaintiffs seek all available damages at law,
including the following:

355. Plaintiffs Manuel Lozano, Lyliana Garcia, and Alejandro Garcia seek the following
wrongful death damages arising from the death of their daughter and mother Irma Garcia as
applicable to each:

a. Pecuniary loss sustained in the past: loss of the care, maintenance, support. services.
advice, counsel, and reasonable contributions of a pecuniary value, that plaintiffs
would have received from Irma Garcia had she lived

b. Pecuniary loss that in reasonable probability will be sustained in the future:

c. Loss of companionship and society sustained in the past: loss of the positive benefit
flowing from the love, comfort, companionship, and society that Plaintiffs in
reasonable probability would have received from Irma Garcia had she lived.

d. Loss of companionship and society that in reasonable probability will be sustained
in the future;

e. Mental anguish sustained in the past: emotional pain, torment, and suffering
experienced by Plaintiffs because of the death of Irma Garcia.

f. Mental anguish that in reasonable probability will be sustained in the future;

g. Loss of inheritance: present value of the assets that the deceased, in reasonable

probability would have added to the estate and left at natural death to Irma Garcia.

356. The Plaintiff Jose Flores, Sr. hereby seeks the following wrongful death damages
arising from the death of his son J.F., Jr.:

a. Loss of companionship and society sustained in the past: loss of the positive benefit
flowing from the love, comfort, companionship, and society that Plaintiffs in

reasonable probability would have received from J.F., Jr. had he lived.

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b. Loss of companionship and society that in reasonable probability will be sustained
in the future:

c. Mental anguish sustained in the past: emotional pain, torment, and suffering
experienced by Plaintiffs because of the death of his son J.F., Jr.

d. Mental anguish that in reasonable probability will be sustained in the future.

357. The Plaintiffs, N.O., L.G., K.O. by and through their next friends, and the

Plaintiff Elsa Avila, hereby seek the following damages:

Medical care and expenses incurred in the past;

b. Medical care and expenses that will in all reasonable probability be incurred in the
future
Physical pain and suffering sustained in the past

d. Physical pain and suffering that will in all reasonable probability be sustained in

the future

e. Physical impairment and disability in the past

f. Physical impairment and disability that in will in all reasonable probability be
sustained in the future

g. Mental anguish in the past

h. Mental anguish that will in all reasonable probability be sustained in the future

i. Physical disfigurement in the past; and

j. Physical disfigurement that will in all reasonable probability be sustained in the
future.

k. For Ms. Avila, loss of earnings in the past and loss of earning capacity that will in

all reasonable probability be sustained in the future.

358. For each of the foregoing, Plaintiff seeks damages in an amount within the Court’s
jurisdictional limits.
359. Irma Garcia, J.F., Jr., lost their lives in this tragedy. The respective representatives

of Irma Garcia’s estate, and J.F., Jr’s estate., they seek the following damages:

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a. Pain and mental anguish: the conscious physical pain and emotional pain, torment
and suffering experienced by a before his death as a result of the occurrence in
question;

b. Funeral and burial expenses:

360. For each of the foregoing, Plaintiff seeks damages in an amount within the Court's

jurisdictional limits.

XII. PUNITIVE AND EXEMPLARY DAMAGES

361. Plaintiffs reallege and incorporate by reference each of the preceding paragraphs
and all subsequent paragraphs as though fully restated herein.

362. Each Defendant’s conduct was done with reckless disregard and/or callous
indifference to the federally protected rights of others impacted by the shooting and subsequent
conduct of law enforcement agents at the scene on May 24, 2022.

363. Defendants, and each of them, were objectively and subjectively aware of the
serious and demonstrable risk of serious bodily injury and death associated with their conduct and
that such risks were compounded and made worse by their inaction. With full knowledge of such
risks. Defendants proceeded and did cause Plaintiffs to suffer grave, even terminal, physical and
mental harm.

PRAYER

Wherefore, Plaintiffs respectfully request that the Defendants be cited to appear and answer

herein and that upon final hearing the Court enter Judgment as follows:

a. For compensatory economic damages in an amount to be determined by the jury

and allowed by law.
b. For an award of such punitive and exemplary damages in an amount to be

determined by the trier of facts.

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For an award of reasonable attorney’s fees pursuant to 42 U.S.C. § 1983 and its

subdivisions, and

For costs of suit and pre- and post-judgment interest as permitted by law.

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Respectfully submitted,

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